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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

UNITED STATES OF AMERICA                    §
                                            §
      v.                                    §     Case No. 4:24-CR-00298
                                            §
                                            §
EITHAN DAVID HAIM                           §
                                            §
                       Defendant.           §

   RESPONSE TO DEFENDANT’S MOTION FOR CONTINUANCE OF
                      JURY TRIAL


TO THE HONORABLE JUDGE HITTNER:

COMES NOW the United States of America, by and through Tina Ansari, Assistant

U.S. Attorney, and respectfully makes the following request:



            1.      Defendant Haim is currently set for Jury Trial on October 21,
            2024.

            2.     On May 29, 2024, a grand jury in the Southern District of Texas
            indicted the defendant with four counts of violating the criminal
            provisions of the Health Insurance Portability and Accountability Act
            (“HIPPAA”).

            3.     On June 17, 2024 and July 1, 2024, the Government produced
            Rule 16 discovery to the defendant. The discovery in the case includes,
            among other things, Baylor and TCH training materials; HIPAA
            certifications and test results; TCH’s electronic system (EPIC) access
            records; emails; video surveillance; hospital assignment and rotation
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      schedules; call detail records and a phone audio recording. The
      Government has also produced reports of interviews with witnesses.

      4.    On June 26, 2024, the prosecution team sat down with defense
      counsel Ryan Patrick to walk through the Indictment and the evidence.
      During that meeting, both sides agreed on a date after the birth of the
      defendant’s child. Both defense and the government agreed that
      October 21, 2024 would be an appropriate date for the jury trial.

      5.     Prior to Indictment and as well as Post Indictment the defendant
      has spoken to numerous media outlets maligning the integrity of
      undersigned counsel and FBI agents. The defendant has publicly stated
      that he would like a speedy trial.

      6.     On September 5, 2024, the day before pretrial motions were due,
      the defendant sent the Government a letter requesting various categories
      of “discovery” materials. Many of the categories comprise of materials
      that do not exist. The Government has already produced the vast
      majority of discovery in the case and will continuously review any new
      materials on an ongoing basis.

      7.     The Government anticipates approximately two days to rest its
      case, the exhibits are not voluminous, and the Government anticipates
      10 or less witnesses to testify at trial. The Government stands ready and
      is prepared for trial on October 21, 2024, or whenever the Court deems
      appropriate.
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                                             Respectfully submitted,

                                             ALMADAR HAMDANI
                                             United States Attorney

                                       By:      s/ Tina Ansari
                                                 Tina Ansari
                                                 Jessica Feinstein
                                                 Tyler White
                                                Assistant United States Attorneys
                                                Government Fraud
                                                1000 Louisiana
                                                Houston, Texas 77002
                                                (713) 567-9598


                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing motion was delivered by Pacer and emailed to

defense counsel of Haim on September 9, 2024.


                                                s/ Tina Ansari
                                                Tina Ansari
                                                Assistant United States Attorney
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